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                                                                                                                                                                                             is going to end in 12 years if we don’t address climate change.”

                                                                                                                                                                                             Really? In order to get you ready for other scary “facts” you will hear
                                                                                                                                                                                             on #EarthDay 3 scientists address some climate myths:
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                                                                                                                                                                                                        Faye Ryder Lawler
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                                                                                                                                                                                                        have the scientific data to support their theories.

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